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                            UN ITED STA TES D ISTR ICT C O U R T
                            SO U TH ER N DISTR IC T O F FLO R IDA

                            CaseNo. 18-CR-80166-M iddIebrooks


  U N ITED STA TE S O F A M E RICA

  VS.

  NICH O LA S W U K O SO N ,

                        D efendant.
                                                /



         The United States of America and NICHOLAS W UKOSON (fr efendant'' or
  EEW UKOSON'')agreethathadthiscasegonetotrial,theUnitedStateswouldhaveproventhe
  following factsbeyond artasonable doubt:

        1.    On September25,2017,a FederalBureau oflnvestigations(FBl)agent,while
 working in an undercovercapacity,utilized aBitTorrentlaw enforcementnetwork clientprogram

to acquire downloadsofactualchild pom ography from the IP addressthatw ould laterresolveto

W U K O SON . The Bit Torrent netw ork can be accessed by peer/client com puters via m any

differentBitTorrentnetworkclient(software)programs,including,forexample,BitTorrentand
u'rorrent,am ong others. These client program s are publically available and typically free P2P

clientsoftw are program sthatcan be dow nloaded from the lnternet.

        2.    On September25,2017,the agentsuccessfully completed thedownload ofim a

and video filesdepicting child pornography thatthe com puteratthe IP address75.74.2 l2.126 w as

m aking available. FBl agents review ed the files and detennined thatthe files depicted children

under the age of eighteen (18) engaged in sexual acts and/or poses consistent with child


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 ponzography. Som e ofthetilesexhibited pre-pubescentchildren,underage tw elve,being sexually

 abused.Three(3)suchvideofileswereasfollows:
                a.     Filename:(Pthc)loyoIrisa-Anal.mpg.Thisvideodepictedaprepubescent
 fem ale on a11four'swith whatappearsto be the handsofan adultmale touching the girl'sanus

 andvaginawith anunknown objed.Later,an adultmalepenetrated aprepubescentgirlwithhis
 peniswhile thegirlison a11foursand then while the adultm alewaslaying down.

                b.     File name:(Pthc) Lily 10Yo Takes ItFully - 8m39S.avi. This video
 depicted an adultm ale digitally and orally penetrating aprepubescentfem ale'svagina and then

 theadultmalehadvaginalsexwiththejuvenilefemale.
                       File name:Russian Lolita 13yp- SaM ix (PTHC)(R@ygo1d).mpg. This
 videocompilation depictedmultiplejuvenilefemalesmanuallystimulatingadultmen,performing
 oralsex on adultmen,having vaginalsex with adultmen,and thejuvenilesbeing digitally and
 orally penetrateby adultm en.

                Resultsfrom an adm inistrativesubpoenaissued to Comcastforthedatesand tim es

 the tiles w ere downloaded,revealed thatIP address 75.74.212.126 w asassigned to W UK O SO N

 at807 UniversityBoulevard,Apartm ent104,Jupiter,Florida,33458.

        4.      On December4,2017,agentsexecuted a lawfully obtained federalsearch warrant

 at807 University Boulevard,Apartm ent104,Jupiter,Florida,33458.W UKOSON waspresent.

 FB1 agents found a silver H P laptop,serial num ber 5C176510165. PosL-M iranda,W U K O SON

 adm itted this to be his com puter. W hile interview ing W U K O SON ,the agents further uncovered

 ablack HP laptop,serialnumber5CD51334FQ,in theclosetthatappeared tobebroken.W hen
 confronted aboutthis device,w hich W UK O SON did not odginally disclose,W U KO SON later

 advised itbelonged to him and had broken som e tim e earlier.


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         5.     On the silverHP laptop,serialnumber5CD6510165 (the newercomputer),the
 following search tennswereuncovered-
                                    .Eçlittlegirlsswil'
                                                      n wear,''tûpretty girlsages 12-13,99ççnude

 teenxxx ''and ççrealteenage girls.'' Located in the recycle bin w ere over 1000 im ages of ttLS

 models.'' M ore than 300 were posed images of whatofchildren in sexually explicitconduct

 wherein the genitalsw ere indecently exposed and displayed in a lascivious exhibition. There w ere

 also 140videosofsuspected childpom ography located in therecyclebin,butduetotheirdam age,

 couldnotbeconfirmed.Agentsuncoveredtwenty (20)torrenttileswiththenamesofchildpol'n
 files,indicating use ofthe BitTorrentnetw ork on this com puter. Finally,evidence ofthe use of

 digitalwiping softw are w as found.

                The FB1 w as able to repair the broken black HP laptop, serial num ber

 5CD51334FQ,foundinthecloset.LocatedwithintheRealplayerimagesfolderwereinexcessof
 300 im ages of child pom ography thum bnails, w hich were representations of the files that

 previously existed on the com puter. Itw asrevealed thatççdisk cleaner''w asused to erase m uch of

 thedatafrom the computer. The following search tennswerelocated on thisdevice:iGnudeteen

 xxx,''ççreal teenage girls dark w eb,''içrealteenage girls 13 to 15,''Etreal teenage girls 13 to 15

 drunk,''E6
          prettygirlsages12 137'littlegirlsswimwearoff,''andççyounggirlsshortsoops.''In the
 computer's recycling bin,agentsrecovered videosofchild pornography with access datesasfar

 back as D ecem ber2015.

               Both ofthesedevicesweremanufactured outside ofthe StateofFlorida

         8.    By agreeing to these facts, W UK O SON agrees the follow ing elem ents of

 possession ofchild pornography w ould be proven beyond a reasonable doubthad this case gone

 to trial:

                       the Defendantknow ingly possessed one or m ore m atters which contained


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                  any visualdepiction ofam inorengaged in sexually explicitconduct,'

             b.   the item sofchild polmography had been transported in interstate orforeign

                  com m erce including by com puter;

             C.   theproduction ofthevisualdepiction involved theuseofam inorengaging

                  in sexually explicitconductand the visual depiction w as ofsuch conduct;

                  and

                  the Defendantknew thatthe visualdepiction involved the use of a m inor

                  engaging in sexually explicitconduct.

                                    ARIANA FAJARDO ORSHAN
                                    U N ITED STA TES A TTO RN EY


                              By:
                                    GR GORY c             L
                                    AS    NT                   STA T     O RN EY



       C sJ//!
  o -t-,                      By:
                                     D      LAs RU            AN ,ESQ.
                                     A TTORN EY FO R DEFEN D AN T


  Date:f'-                    By:
                                     NI   L S W U K O SON
                                     D FEN AN T




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